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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
HOUSSAIN KETTANI,
Plaintiff,
v. CASE NO: 8:18-cv-01205-MSS-JSS
FLORIDA POLYTECHNIC UNIVERSITY

Defendant.

MOTION TO WITHDRAWAL AS COUNSEL OF RECORD

COMES NOW, Michael Mattimore, Shannon Kelly and Allen Norton & Blue,
P.A., undersigned counsel of record for Defendant, FLORIDA POLYTECHNIC
UNIVERSITY, and pursuant to this Court’s Local Rules 7.l and ll.l, moves to be
Withdrawn as an attorney of record in this matter and, in support thereof, states as
follows:

l. Defendants in this matter initially retained legal representation by the
law firm of Allen, Norton & Blue, P.A. Subsequently, Defendant retained legal
representation by the law firm of Hall, Arbery, Gilligan, Roberts & Shanle, and

attorney Mark L. Bonfanti.

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2. Defendants consent to the undersigned Withdrawing and attorneys
Mark L. Bonfanti intent to continue as counsel of record on behalf of Defendants in
this case. Undersigned’s Withdrawal Will not prejudice any party in this matter.

WHEREFORE, the undersigned respectfully requests this Court to grant the
instant Motion to Withdraw as Counsel of Record.

Respectfully submitted this lst day of Augus 2018.

/s/ Michael Mattimore

Michael Mattimore

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Counsels for Defendant

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CERTIFICATE OF SERVICE
I I-IEREBY CERTIFY that on this lst day of August 2018, a true and correct
copy of the foregoing Was electronically filed using the Florida Courts E-Filing
Portal, Which will send a notice of electronic filing to Tark Aquadi, Esq., CAIR
Florida, Inc., 1507 S. Hiawassee Road, Suite 212, Orlando, Florida 328235

/S/ Michael Mattimore
Attorney

